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                       EXHIBIT C
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Government                          United States

Plaintiff                               VS.               Criminal No. 21-CR-411 (APM)

Defendant        X                  Stewart Parks

Joint

Court
                               DEFENDANT’S WITNESS LIST

            COMES NOW Defendant Stewart Parks and presents the following list of

 potential witnesses in United States v. Stewart Parks, 21-CR-411, which is

 scheduled for trial on January 17, 2022, before The Honorable Amit P. Mehta.

            1) Stewart Parks

            2) Matthew Baggott
